The Honorable Judith K. Moriarty Missouri Secretary of State State Capitol Building Jefferson City, Missouri 65101
Dear Secretary Moriarty:
You have submitted to us a statement of purpose prepared pursuant to Section 116.334, RSMo 1986. The statement which you have submitted is as follows:
         Shall a law be enacted to limit campaign contributions to persons or committees by persons or committees per election cycle to $100 and $200 depending on the population of the political district and to $300 for statewide candidates; require disclosure by contributors of their employer or occupation when contributing in excess of $25 per person; allow persons to file complaints alleging violations of the contributions limits?
See our Opinion Letter No. 140-94.
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Under the provisions of Section 116.334, the approved statement of purpose, unless altered by a court, is the petition title for the measure circulated by the petition and the ballot title if the measure is placed on the ballot.
Very truly yours,
                                  JEREMIAH W. (JAY) NIXON Attorney General